251 F.2d 488
    James P. MITCHELL, Secretary of Labor, United States Department of Labor,v.Kenneth E. RENNEKAMP, Individually and Doing Business as Radio Station WEMR, Appellant.
    No. 12278.
    United States Court of Appeals Third Circuit.
    Argued December 3, 1957.
    Decided January 2, 1958.
    
      David R. Levin, Pittsburgh, Pa. (Kenneth E. Rennekamp, Pittsburgh, Pa., on the brief), for appellant.
      Lawrence Hochberg, Washington, D. C. (Stuart Rothman, Sol., Bessie Margolin, Asst. Sol., Harry M. Leet, Atty., Dept. of Labor, Washington, D. C., Ernest N. Votaw, Regional Atty., Dept. of Labor, Philadelphia, Pa., on the brief), for appellee.
      Before McLAUGHLIN, KALODNER and STALEY, Circuit Judges.
      PER CURIAM.
    
    
      1
      In the district court the Secretary of Labor obtained an injunction against appellant restraining him from violating the minimum wage, overtime and record provisions of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C.A. § 201 et seq.
    
    
      2
      The record clearly shows that during the critical period appellant's radio station was an associate member of the Associated Press, had a teletype machine of that organization in its office from which it received Associated Press world and national news on a twenty-four hour a day basis for broadcast purposes and that such news was received, edited and broadcast at regular intervals every day in the week except Sunday. The employees of the station worked as announcers, engineers and announcer-engineers. Among other things they had duties in connection with the Associated Press news reports, operation and maintenance of transmission equipment, preparation of commercials and sale of advertising for the station. These facts brought appellant's employees within the coverage of the Act. Lorain Journal Co. v. United States, 1951, 342 U.S. 143, 72 S.Ct. 181, 96 L.Ed. 162; Associated Press v. United States, 1945, 326 U.S. 1, 65 S.Ct. 1416, 89 L.Ed. 2013; Associated Press v. N.L.R.B., 1937, 301 U.S. 103, 57 S.Ct. 650, 81 L.Ed. 953. There was substantial proof, accepted by the court sitting without a jury, of violations of the Act. Appellant's contention that application of the Fair Labor Standards Act to him violates the Fifth Amendment is without merit. Though the station has been closed it is conceded that appellant is still interested in at least two other radio stations. In one of these he possesses a fifty per cent partnership interest. The other is a corporation of which he is president. An injunction against violating the Act had been previously issued against the latter station.
    
    
      3
      The decision of the district court is sound and its injunction against the appellant justified.
    
    
      4
      The judgment of the district court will be affirmed.
    
    